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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                        December 06, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                HOUSTON DIVISION

IN RE:                                           §
                                                 §      CASE NO: 24-35761
JETALL COMPANIES,                                §
                                                 §
         Debtor.                                 §
                                                 §
                                                 §      CHAPTER 11

                         ORDER ANNULLING AUTOMATIC STAY

       Before the Court is this involuntary case that was filed on December 4, 2024. The Court
issues the following order annulling the stay.
       IT IS THEREFORE ORDERED that the automatic stay pursuant to 11 U.S.C. § 362(a)
is annulled retroactive to December 4, 2024 regarding Case No. 23-34815, Galleria 2425 Owner,
LLC, the date of the filing of this case.
         SIGNED 12/06/2024


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




                                                                                     EXHIBIT
1/1
                                                                                          24
